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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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SUSAN SCHNEIDERMAN,
Plaintiff, Civil Action No.:
COMPLAINT
-against-
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LAW OFFICES OF MITCHELL N. KAY, P.C., as \ lE | Ib WI Ig
WILLIAM W. SIEGEL and WILLIAM W. SIEGEL la)
& ASSOCIATES, ATTORNEYS AT LAW, LLC, IR) ey gait
Successor in Interest to Law Offices of , bol Bs a
Mitchell N. Kay, P.C., yc, BD.
Defendants. . CASHIERS.
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Plaintiff, SUSAN SCHNEIDERMAN, by her undersigned counsel, complaining of the
Defendants, states as follows:

JURISDICTION

I. This action arises out of Defendants’ violations of the Fair Debt Collections Act,
15 U.S.C. § 1692, ef seg. (“FDCPA”). This court has federal question jurisdiction pursuant to 15
ULS.C. § 1692k (d) and 28 U.S.C. § 1331.

2. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the
Defendants transact business in and reside in this District and a substantial portion of the acts
giving rise to this action occurred in this District.

PARTIES

3, The Plaintiff is an adult individual residing in Bridgeport, Connecticut. Plaintiff
is a “consumer” within the meaning of Section 803 of the FDCPA, 15 U.S.C. § 1692a(3), in that
the alleged debt that the Defendants sought to collect from her was originally incurred, if at all,

for personal, family or household purposes and is therefore a consumer debt within the meaning
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of 15 U.S.C. § 1692a(5).

4, Upon information and belief, Defendant Law Offices of Mitchell N. Kay, P.C.
(“MNK”’) is a professional corporation which, during the relevant period, conducted its business
from offices at 7 Penn Plaza, New York, New York. At all times herein relevant, MNK operated
as a collection agency and engaged in business as a “debt collector” as the term is defined by 15
ULS.C. §1692a(6).

5. Upon information and belief, Defendant William W. Siegel & Associates,
Attorneys at Law, LLC (“WWS”) is a professional service limited liability company formed in
or around May 2009. WWS operates as a collection agency from offices located at 7 Penn Plaza,
New York, New York and is a “debt collector” as the term is defined by 15 U.S.C. §1692a(6).

6. Upon information and belief, Defendant William W. Siegel (“Attorney Siegel”) is
and was at all relevant times an attorney licensed to practice law in the State of New York and
maintaining an office at 7 Penn Plaza, New York, New York. At all times herein relevant,
Attorney Siegel was engaged in business as a “debt collector” as the term is defined by 15 U.S.C.
§1692a(6).

7. Upon information and belief, at all times herein relevant, through at least May
2010, Attomey Siegel was employed by MNK and held the title of “managing attomey” at
MNK. Attorney Siegel is also the manager and principal officer of WWS.

8. Upon information and belief, at all times herein relevant, Attorney Siegel had full
supervisory control over MNK’s collection operations and employees engaged in collection of
consumer accounts.

9. Upon information and belief, in or around June 2010 the business of MNK was

subsumed by, assumed by, merged into, taken over by or transferred to WWS.
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10. ‘In furtherance the takeover, merger, transfer, assumption or subsuming of MNK’s
business, MNK included the following statement on correspondence sent to consumers in or
around April and May, 2010: “Effective 6/1/10 your account referenced will be handled by
William W. Siege] Associates, Attorneys at Law, LLC, who will be taking over in it's entirety
the Law Offices of Mitchell N. Kay PC collection attorney practice.”

11. Upon information and belief, Tashiem Mayo, MNK’s former “Manager of
Collection Operations,” became an employee of WWS as of on or about June 1, 2010.

12. Upon information and belief, MNK’s telephone numbers, 212-695-8155 and 800-
247-4720, became WWS’ telephone numbers as of on or about June 1, 2010,

13. WWS succeeded to the business of MNK and is responsible for its liabilities,

including Habilities arising from violations of the FDCPA.

FACTS APPLICABLE TO ALL COUNTS
A. The Debt

14. Several years prior to October 23, 2009, the Piaintiff was granted charge and
credit privileges by American Express (the “Creditor” or ““Amex”),

15. Plaintiff used her Amex privileges and incurred financial obligations which were
primarily for family, personal or household purposes and which meet the definition of a “debt”
under 15 U.S.C. §1692a(5),

16. Inor around October 2008, a dispute arose between Plaintiff and Amex. The

dispute was not resolved and, as a result, Amex cancelled Plaintiff's privileges and declared

Plaintiff's account to be in default.

17. The amounts remaining due on Plaintiff's account with Amex (the “Debt’’) were

placed with MNK for collection.
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18. MNK, acting through Attorney Siegel and others, attempted to collect the Debt.
As such, MNK, Attorney Siegel and others each engaged in “communications” as defined in [5

U.S.C. §1692a(2).

B. Settlement of the Debt

19, On or about October 23, 2009, MNK contacted the Plaintiff an offered Plaintiff
the opportunity to settle the Debt.

20. Plaintiff informed MNK that the Debt was disputed.

21. On behalf of Amex, MNK offered to accept the sum of $8,800 in settlement of the
Debt which, according to MNK, amounted to $21,921.31. The settlement was required to be paid
in two installments: $3,000 on October 30, 2009 and $5,800 on November 27, 2009.

22. Plaintiff informed MNK that she did not agree with MNK’s statement of the
amount due. Rather, the amount due the Creditor, if anything, was substantially lower than
$21,921.31.

23. Plaintiff reviewed the offer, determined that it was reasonable and accepted the
offer in lieu of engaging in a protracted dispute.

24. By letter dated October 23, 2009 MNK, through its Manager of Collection
Operations, Tashiem Mayo, confirmed the settlement terms.

25. | Upon information and belief, Mr. Mayo and the settlement were subject to
supervision by Attorney Siegel.

26. Plaintiff fully compHed with the terms of the settlement.

C. Defendants’ Unfair and Deceitful Collection Practices

27. In or around January, 2010, Plaintiff received a Notice advising that Amex
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reported the sum of $13,121.31 to the Internal Revenue Service as income received by the
Plaintiff by reason of “forgiveness” of a debt and pursuant to 26 U.S.C.A. § 61{a)(12).
28. Upon information and belief, the amount reported as income represents the
difference between the alleged Debt amount of $21,921.31 and the $8,800 paid.
29. The term “forgiveness” was not used by any participant in the transaction and
agreement concerning settlement of the Debt or any part thereof.
30. The Defendants failed to inform Plaintiff of any potential tax consequences
associated with acceptance of a settlement offer,
31. Plaintiff would not have accepted the settlement offered if it had been disclosed
that Amex could report as income the difference between the alleged Debt and the amount paid.
32. Defendants knew or should have known that Amex intended fo report as income
to the Plaintiff the difference between the alleged Debt and the amount paid.
33. The Defendants knew and anticipated that disclosure to Plaintiff of the prospect of
added tax liability would
(a) undermine their ability to achieve a settlement of the Debt,
(b) undermine their ability to obtain payment, and
(c) undermine their ability to earn fees in connection with the Debt.
34. The Defendants intentionally concealed the foregoing information from the
Plaintiff and thereby induced the Plaintiff to accept the settlement.
35. | Upon information and belief, the Defendants adhere to a policy whereby
consumers are not informed of the potential tax consequences associated with settlement of their

debts.

36. Upon information and belief, Attorney Siegel is responsible for implementation,
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approval and oversight of the policy whereby potential tax consequences of settlements with

creditors is not disclosed to consumers.

D, Plaintiff Incurred Actual Damages
37. As aresult of the foregoing, Plaintiff incurred an additional income tax liability of
$3,600.00.

38, As aresult of Defendants’ actions, Plaintiff suffered from anxiety, mental

anguish, embarrassment and emotional distress.

COUNT I

VIOLATIONS OF THE FDCPA
15 U.S.C. §1692e(2)(A

39. Section 807(2)(A) of the FDCPA, 15 U.S.C. §1692e(2)(A), provides:
A debt collector may not use any false, deceptive, or misleading
representation or means in connection with the collection of any debt.

Without limiting the general application of the foregoing, the following
conduct is a violation of this section:

(2) The false representation of —
(A) the character, amount, or legal status of any debt

40. Defendants misrepresented the character, amount and legal status of the Debt by,
among other things, representing, directly or indirectly, that the Plaintiff would owe nothing
further in connection with the Debt once the agreed settlement was paid.

41. Defendants misrepresented the character, amount and legal status of the Debt by,
among other things, omitting disclosure of the potential tax consequences associated with

settlement of the Debt.

42, _ By virtue of Defendants’ violations of 15 U.S.C. §1692e(2)(A), the Plaintiff is
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entitled to recover statutory damages of $1,000.00, actual damages of no less than $3,600.00 and
costs and reasonable attorneys fees.
COUNT II

VIOLATIONS OF THE FDCPA
15 U.S.C. §1692e(10)

43, Plaintiff incorporates by reference all preceding paragraphs of this Complaint as
though fully set forth herein at length.
A4. Section 807(10) of the FDCPA, 15 U.S.C. §1692e(10), provides, in relevant part:
A debt collector may not use any false, deceptive, or misleading
representation or means in comection with the collection of any debt.

Without limiting the general application of the foregoing, the following
conduct is a violation of this section:

WOK aR ORK
(10) The use of any false representation or deceptive means to collect or
attempt to collect any debt or to obtain information concerning a
consumer,

4S. Defendants used false representations and deceptive means to collect or attempt to
collect the Debt by, among other things, representing, directly or indirectly, that the Plaintiff
would owe nothing further in connection with the Debt once the agreed settlement was paid,

46. Defendants used false representations and deceptive means fo collect or attempt to
coliect the Debt by, among other things, omitting disclosure of the potential tax consequences
associated with settlement of the Debt.

47, By virtue of Defendants’ violations of 15 U.S.C. §1692e(10), the Plaintiff is

entitled to recover statutory damages of $1,000.00, actual damages of no less than $3,600.00 and

costs and reasonable attorneys fees.
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COUNT UI

VIOLATIONS OF THE FDCPA
15 U.S.C. §1692f

48. Plaintiff incorporates by reference all preceding paragraphs of this Complaint as
though fully set forth herein at length.
49. FDCPA Section 808, 15 U.S.C. §1692f, provides in relevant part:

A debt collector may not use unfair or unconscionable means to collect or
attempt to collect any debt.

50. The acts and practices complained of herein constitute the use of unfair and
unconscionable means to collect or attempt to collect a debt.

51. By virtue of Defendants’ violations of 15 ULS.C. §1692f, the Plaintiff is entitled to
recover statutory damages of $1,000.00, actual damages of no less than $3,600.00 and costs and
reasonable attorneys fees.

COUNT IV
VIOLATIONS OF NEW YORK GBL & 349

52. Plaintiff incorporates by reference all preceding paragraphs of this Complaint as though
fully set forth herein at length.

53. The acts, practices and conduct engaged in by the Defendants and complained of
herein constitute “deceptive acts and practices” within the meaning of Article 22A of the General
Business Law of the State of New York, NY GBL § 349.

54, The Defendants willfully and knowingly engaged in conduct constituting
deceptive acts and practices in violation of NY GBL§ 349.

55. The Plaintiff suffered and continues to suffer actual damages as a result of the
foregoing acts and practices, including damages associated with, among other things, increased

tax liabilities, humiliation, anger, anxiety, emotional distress, fear, frustration and embarrassment

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caused by the Defendants.

56. _ By virtue of the foregoing, Plaintiff is entitled to recover her actual damages,

trebled, together with reasonable attorneys’ fees.
COUNT V
COMMON LAW FRAUD

57. Plaintiff incorporates by reference all preceding paragraphs of this Complaint as
though fully set forth herein at length.

58. The acts and practices complained of herein constitute common law fraud under
the laws of the State of New York.

59. By virtue of the foregoing, Plaintiff is entitled to recover damages in the amount of

$3,600, punitive damages in the amount of $7,200 and reasonable attorneys fees.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be awarded in her favor and
against the Defendants as follows:
A) Awarding statutory damages as provided under the FDCPA, pursuant to 15
ULS.C. § 1692k;
B) Awarding reasonable attorney fees, litigation expenses and costs.
C) Awarding actual damages.
D) Awarding punitive damages and/or treble damages.

E) Granting such other and further relief this Court deems just and appropriate.

JURY DEMAND

Plaintiff demands a trial by jury.
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Dated: Stamford, CT
October 21, 2010

LEMBERG & ASSOCIATES L.L.C.
Attorneys for

    
   

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